Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 15-20319-CR-KING

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ANA ENRIQUEZ,

         Defendant.
                                               /

                  UNOPPOSED MOTION TO AWARD FINAL FEES AND
                 COSTS TO THE RECEIVER AND RECEIVER’S COUNSEL

                 George Richards, Receiver, through the undersigned counsel, files this

  Unopposed Motion to Award Final Fees and Costs to the Receiver and his counsel. In support

  thereof, the Receiver states as follows:

                 1.      On August 31, 2016 this Court entered an Order (DE 202) appointing

  George Richards of National Auction Company, Inc. as the Receiver (“Receiver”) over certain

  real property owned by the Defendant, Ana Enriquez (“Enriquez”).               The Receiver was

  authorized and directed to sell the property for the purposes of payment towards Defendant’s

  outstanding restitution obligation to the United States in the original amount of $12,166,967.00

  (DE 182).

                 2.      The Receiver was directed by the Court to sell the single family home

  located at 243 N.W. 136 Place, Miami, FL 33196 (the “Receivership Property”).

                 3.      In the course of performing his responsibilities, the Receiver: (a) routinely

  inspects the Receivership Property; (b) ensures that the Receivership Property is adequately

  secured; (c) ensures that any necessary maintenance is performed; (d) conducts a market study to

  develop an opinion of value; (e) actively markets and personally shows the Receivership
                                                   1
Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 2 of 6




  Property to interested purchasers; and (f) takes such other action as he deems reasonable and

  necessary in furtherance of performing his responsibilities to maintain the status quo and

  liquidate the asset.

                                Sale of the Receivership Property

                  4.     On February 13, 2017 the Court entered an Order Approving Sale of

  Receivership Property (DE 206) for the purchase price of $345,000.00.

                  5.     On February 17, 2017 the Receiver closed the sale of the Receivership

  Property and a Notice of Closing (DE 207) was filed with the Court on February 20, 2017.

                  6.     After payment of closing costs, an outstanding mortgage loan, past due

  real estate taxes and commissions to participating real estate brokers, the Receivership Estate

  received net proceeds of $280,501.48. A copy of the Closing Statement is attached hereto as

  Exhibit “A”.

                                The Receiver’s Requested Fees and Expenses

                  7.     The Order Appointing Receiver (DE 202) provides that the Receiver will

  be paid a 6% commission plus reimbursement of costs.

                  8.     The Receiver requests an award of 6% of the $345,000.00 sales price,

  which results in compensation in the amount of $20,700.00. The Receiver also requests

  reimbursement of $2,745.41 in expenses advanced for the Receivership Property. A copy of the

  Receivership Expense Report is attached hereto as Exhibit “B”.

                  9.     The Receiver is not requesting hourly compensation for his efforts in

  administering the Receivership Estate and the Receivership Property in this matter.

                  10.    The total amount sought by the Receiver for Receiver fees and expenses

  through the date of this Motion is $23,445.41.



                                                   2
Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 3 of 6




                                  Attorney Fees and Expenses of Receiver’s Counsel

                   11.      In addition to the foregoing fees and expenses, the Receiver engaged

  Chapman Smith Esq. (“Receiver’s Counsel”) to represent him in this matter to facilitate the

  administration of the Receivership Estate.

                   12.      As of July 16, 2018, Receiver’s Counsel expended 39.30 hours of attorney

  and paralegal time totaling $11,809.00, and advanced costs totaling $333.02, for a total of

  $12,142.02. The Affidavit of Attorney Fees and Costs from Receiver’s Counsel is attached

  hereto as Exhibit “C”. 1

                   13.      The aforementioned attorney fees include the representation of the

  Receiver in a state court foreclosure proceeding filed by Regions Bank d/b/a Regions Mortgage.

  The state court proceeding was filed in Miami-Dade Circuit Court as a result of Defendant’s

  failure to pay mortgage payments and is styled as Regions Bank vs. Ana I. Enriquez, et al., Case

  No. 2016-030772-CA01. The state court proceeding was ultimately dismissed as a result of the

  sale of the Receivership Property.

                   14.      The aforementioned attorney fees also include the representation of the

  Receiver in the efforts to gain access to the Property which was initially occupied by defendant’s

  adult son.      Ultimately, the Receiver filed a Joint Motion for Entry of Break Order and

  Authorizing Receiver to Conduct Discovery (DE 203) on October 3, 2016 in order to gain access

  to the Receivership Property.

                   15.      On October 5, 2016 this court entered a Break Order to the Property (DE

  204) and the Receiver was granted access to and possession of the Receivership Property shortly

  thereafter.


  1
   Because the instant Motion is unopposed, an affidavit of reasonableness from third party counsel is not included in
  an effort to reduce the expense to the Receivership Estate.
                                                           3
Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 4 of 6




                16.     The United States agrees that the time expended and the expenses incurred

  in this matter by the Receiver and Receiver’s Counsel were necessary and reasonable and

  recommends the approval and award of same.

                17.     By this Motion, the Receiver seeks the award and disbursement of the

  following fees and costs: (a) $23,445.41 to the Receiver for the Receiver’s fee and

  reimbursement of expenses; and (b) $12,142.02 in attorney fees and costs to be awarded to

  Receiver’s Counsel.

                18.     All amounts awarded to the Receiver and Receiver’s Counsel hereunder

  will be deducted and disbursed from the proceeds of sale of the Receivership Property.

                19.     The Receiver requests that the Court: (a) approve the professional fees and

  compensation to the Receiver and Receiver’s Counsel as provided for herein; and (b) authorize

  the payment and disbursement of all awards hereunder to be made from the proceeds of sale. A

  Proposed Order Awarding Final Fees and Costs is attached hereto as Exhibit “D”.

                WHEREFORE, the Receiver respectfully requests this Honorable Court (a)

  approve and award the professional fees and expenses to the Receiver and his attorneys, (b)

  direct the payment of same from the proceeds of sale, and (c) grant such further relief as this

  Court deems just and proper under the circumstances.

                      COMPLIANCE WITH LOCAL RULES 7.3 & 88.9(a)

                The undersigned hereby certifies that prior to filing this Motion, the undersigned

  conferred with (a) Maureen Donlan, AUSA, on behalf of the United States of America, who

  advised that the United States is in agreement with the Motion; and (b) Michael Band, Esq.,

  counsel for Defendant, Enriquez, who has advised that Defendant has no objection.




                                                 4
Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 5 of 6




                                   CERTIFICATE OF SERVICE

                 I hereby certify that on July 30, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached

  Service List in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Electronic Filing.

                                                Respectfully submitted,

                                                By: s/ Chapman Smith, Esq. (0002895)
                                                E-Mail: csmith@csmithassoc.com
                                                Fla. Bar No. 0002895
                                                Chapman Smith & Associates, PLC
                                                2699 Stirling Road, Suite A201
                                                Fort Lauderdale, FL 33312
                                                Telephone: 954.981.3249
                                                Facsimile: 945.981.3259
                                                Attorneys for Receiver




                                                   5
Case 1:15-cr-20319-JLK Document 229 Entered on FLSD Docket 07/30/2018 Page 6 of 6




                                        SERVICE LIST

                              United States v. Ana Enriquez, et al
                                  Case No. 15-20319-CR-KING
                    United States District Court, Southern District of Florida

  Maureen Donlan, AUSA
  United States Attorney's Office
  99 NE 4 Street
  Miami, FL 33132
  Email: maureen.donlan@usdoj.gov
  CM/ECF

  Daren Grove, AUSA
  United States Attorney's Office
  99 NE 4 Street
  Miami, FL 33132
  Email: daren.grove@usdoj.gov
  CM/ECF

  Kevin Larsen, AUSA
  United States Attorney's Office
  99 NE 4 Street
  Miami, FL 33132
  Email: kevin.larsen@usdoj.gov
  CM/ECF

  Michael Robert Band, Esq.
  Michael R. Band, P.A.
  1200 Alfred I. DuPont Building
  169 East Flagler Street
  Miami, FL 33131
  Email: michael@bandlawfirm.com
  CM/ECF




                                                6
